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                              UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF CONNECTICUT

---------------------------------------------------------------------~
WhitServe LLC,                                                           )
             ~~~                                                         )
             ~                                                           )   Civil Action No.
                                                                         )   3:06CV01935 (AVC)
Computer Packages, Inc.,                                                 )
        Defendant                                                        )
---------------------------------------------------------------------~

                                     JOINT TRIAL MEMORANDUM

         In accordance with The Hon. Alfred V. Covello's Joint Trial Memorandum Instructions

and the D. Conn. L. Civ. R. Standing Order Regarding Trial Memoranda in Civil Cases, plaintiff

WhitServe LLC ("WhitServe") and defendant Computer Packages, Inc. ("CPi") hereby submit

this Joint Trial Memorandum.




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I.      TRIAL COUNSEL
For WhitServe:

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For CPi:

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II.    JURISDICTION
       This is an action for patent infringement and arises under the United States Patent Laws,

particularly 35 U.S.C. §271 et seq. Subject matter jurisdiction is based on 28 U.S.C. §1338.


III.   JURY/NON-JURY
       Jury on the determination of a reasonable royalty. All other issues shall be determined by

the Court.


IV.    NATURE OF CASE
       WhitServe's nature of the case attached as Exhibit A.

       CPi's nature of the case attached as Exhibit B.



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V.     STIPULATION OF FACT AND LAW
       Attached as Exhibit C.


VI.    LEGAL ISSUES
       CPi contends:

       What reasonable royalty has WhitServe proven?

       WhitServe contends:

       The amount of damages WhitServe is entitled from CPi.

       Whether WhitServe is entitled to enhanced damages.

       Whether WhitServe is entitled to a permanent injunction enjoining CPi from further

infringement.

       Whether WhitServe is entitled to prejudgment interest.

       Whether WhitServe is entitled to attorneys' fees and costs.


VII.   VOIR DIRE QUESTIONS
       WhitServe's proposed voir dire questions attached as Exhibit D.

       CPi's proposed voir dire questions attached as Exhibit E.


VIII. LIST OF WITNESSES
       WhitServe's witness list attached as Exhibit F.

       CPi's witness list attached as Exhibit G.


IX.    EXHIBITS
       WhitServe's exhibit list attached as Exhibit H.

       CPi' s exhibit list attached as Exhibit I.


X.     LIST OF DEPOSITION WITNESSES
       WhitServe's deposition witness list attached as Exhibit J.



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          CPi's deposition witness list attached asK. WhitServe has not provided specific

designations of deposition witnesses, but instead identifies entire transcripts only. CPi therefore

reserves the right to object to WhitServe's designated deposition testimony and to counter-

designate testimony when WhitServe identifies specific testimony.


XI.       REQUESTS FOR JURY INSTRUCTIONS
          WhitServe's requests for jury instructions attached as Exhibit L.

          CPi's requests for jury instructions attached as Exhibit M.


XII.      ANTICIPATED EVIDENTIARY PROBLEMS
          To be filed and served as motions in limine.


XIII. TRIAL TIME
          WhitServe estimates that trial will require 2-3 days.

          CPi estimates that the trial will require 3-4 days, to be split evenly between the parties.


XIV. FURTHER PROCEEDINGS PRIOR TO TRIAL
      The following motions remain outstanding:

      •   CPi's Motion to Disqualify. (Dkt. 553.)

      •   WhitServe's Motion to Quash. (Dkt. 568.)

      •   WhitServe's Motion for Sanctions. (Dkt. 577.)

      •   WhitServe's Motion to Compel. (Dkt. 579.)

      •   CPi's Motion to Dismiss. (Dkt. 601.)

   The Parties anticipate the following:

   •      Rulings on evidentiary issues raised by motions in limine or otherwise.

   •      CPi's Motion to Stay the Litigation.




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XV.     COURTROOMTECHNOLOGY
        WhitServe:

        WhitServe does not currently anticipate requiring any courtroom technology.

        CPi:

       CPi anticipates requiring courtroom technology similar to that used in the May 2010 trial,

namely, a computer projector, a projection screen, and (as needed) computer monitors to display

exhibits to the Court and jury.


XVI.   ELECTION FOR TRIAL BY MAGISTRATE
       No.




                              Respectfully Submitted

November 8, 2013              Is/ Gene S. Winter
Date                          GeneS. Winter, ct05137
                              Michael Kosma, ct27906
                              Stephen Ball, ct28234
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                              ATTORNEYS FOR WHITSERVE LLC


November 8, 2013              Is/ Douglas Sharratt
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                              ATTORNEYS FOR COMPUTER PACKAGES, INC.


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                                  CERTIFICATE OF SERVICE

        This is to certify that on this 8th day ofNovember 2013, a true and correct copy of the
foregoing JOINT TRIAL MEMORANDUM was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the court's electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the court's CM/ECF System.




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Date




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